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                                                                                         JS-3
                                        United States District Court
                                       Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             EDCR18-00163-JGB-11

 Defendant            Ruben Munoz, Jr.                                       Social Security No. 0          7     5         6
                                                                             (Last 4 digits)
           Aliases: Ruben Jesus Munoz, Jr.; “Wicked”

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                      MONTH     DAY   YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.         06       22    2020


 COUNSEL                                                                  Kenneth Reed, CJA
                                                                             (Name of Counsel)

     PLEA             √ GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                NOT
                                                                                                                CONTENDERE            GUILTY
                      There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:

  FINDING
                       Bank Fraud, in violation of 18 U.S.C. § 1344(2) as charged in Count 23 of the Indictment.


JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no
AND PROB/ sufficient cause to the contrary was shown, or appeared to the Court, the Court adjudged the defendant
  COMM
  ORDER
          guilty as charged and convicted and ordered that: Pursuant to the Sentencing Reform Act of 1984, it is the
                      judgment of the Court that the defendant Ruben Munoz, Jr., is hereby committed to the custody of the
                      Bureau of Prisons to be imprisoned for a term of time served on Count 23 of the Indictment.

        Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three
years, under the following terms and conditions:

         1. The defendant shall comply with the rules and regulations of the United States Probation & Pretrial
            Services Office and General Order 20-04, including the conditions of probation and supervised release
            set forth in Section III of General Order 20-04.

         2. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to
            one drug test within 15 days of release from custody and at least two periodic drug tests thereafter, not to
            exceed eight tests per month, as directed by the Probation Officer.

         3. The defendant shall participate in an outpatient substance abuse treatment and counseling program that
            includes urinalysis, breath or sweat patch testing, as directed by the Probation Officer. The defendant shall
            abstain from using alcohol and illicit drugs, and from abusing prescription medications during the period of
            supervision.

         4. During the course of supervision, the Probation Officer, with the agreement of the defendant and defense
            counsel, may place the defendant in a residential drug treatment program approved by the U.S. Probation
            and Pretrial Services Office for treatment of narcotic addiction or drug dependency, which may include


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              counseling and testing, to determine if the defendant has reverted to the use of drugs. The defendant shall
              reside in the treatment program until discharged by the Program Director and Probation Officer.

         5. During the period of community supervision, the defendant shall pay the special assessment and restitution
            in accordance with this judgment's orders pertaining to such payment.

         6. The defendant shall cooperate in the collection of a DNA sample from the defendant.

         7. The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance,
            judgments and any other financial gains to the Court-ordered financial obligation.

         8. The defendant shall submit his or her person, property, house, residence, vehicle, papers, computers [as
            defined in 18 U.S.C. § 1030(e)(1)], cell phones, other electronic communications or data storage devices or
            media, office, or other areas under the defendant’s control, to a search conducted by a United States
            Probation Officer or law enforcement officer. Failure to submit to a search may be grounds for revocation.
            The defendant shall warn any other occupants that the premises may be subject to searches pursuant to this
            condition. Any search pursuant to this condition will be conducted at a reasonable time and in a reasonable
            manner upon reasonable suspicion that the defendant has violated a condition of his supervision and that the
            areas to be searched contain evidence of this violation.

       It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25
per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

        Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established
that he is unable to pay and is not likely to become able to pay any fine.

       It is ordered that the defendant shall pay restitution to Bank of America in the total amount of $1,500
pursuant to 18 U.S.C. § 3663A.

       Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant
does not have the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant
to 18 U.S.C. § 3612(g).

         The Court informs the defendant of his right to appeal.

         The remaining count is dismissed in the interest of justice.

         The Court orders defendant released forthwith.

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 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions
 of Probation and Supervised Release within this judgment be imposed. The Court may change the conditions of
 supervision, reduce or extend the period of supervision, and at any time during the supervision period or within the
 maximum period permitted by law, may issue a warrant and revoke supervision for a violation occurring during the
 supervision period.


            June 30, 2020
            Date                                                  Jesus G. Bernal, U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                  Clerk, U.S. District Court




            June 30, 2020                                   By
            Filed Date                                            M. Galvez/Noe U. Ponce, Deputy Clerks




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 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                      STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                      While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal,              9.    The defendant must not knowingly associate with
       state, or local crime;                                            any persons engaged in criminal activity and must
 2.    The defendant must report to the probation office in              not knowingly associate with any person convicted
       the federal judicial district of residence within 72              of a felony unless granted permission to do so by
       hours of imposition of a sentence of probation or                 the probation officer. This condition will not apply
       release from imprisonment, unless otherwise                       to intimate family members, unless the court has
       directed by the probation officer;                                completed an individualized review and has
 3.    The defendant must report to the probation office as              determined that the restriction is necessary for
       instructed by the court or probation officer;                     protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the                  10.   The defendant must refrain from excessive use of
       judicial district without first receiving the                     alcohol and must not purchase, possess, use,
       permission of the court or probation officer;                     distribute, or administer any narcotic or other
 5.    The defendant must answer truthfully the inquiries                controlled substance, or any paraphernalia related
       of the probation officer, unless legitimately                     to such substances, except as prescribed by a
       asserting his or her Fifth Amendment right against                physician;
       self-incrimination as to new criminal conduct;              11.   The defendant must notify the probation officer
 6.    The defendant must reside at a location approved by               within 72 hours of being arrested or questioned by
       the probation officer and must notify the probation               a law enforcement officer;
       officer at least 10 days before any anticipated             12.   For felony cases, the defendant must not possess a
       change or within 72 hours of an unanticipated                     firearm, ammunition, destructive device, or any
       change in residence or persons living in defendant’s              other dangerous weapon;
       residence;                                                  13.   The defendant must not act or enter into any
 7.    The defendant must permit the probation officer to                agreement with a law enforcement agency to act as
       contact him or her at any time at home or elsewhere               an informant or source without the permission of
       and must permit confiscation of any contraband                    the court;
       prohibited by law or the terms of supervision and           14.   As directed by the probation officer, the defendant
       observed in plain view by the probation officer;                  must notify specific persons and organizations of
 8.    The defendant must work at a lawful occupation                    specific risks posed by the defendant to those
       unless excused by the probation officer for                       persons and organizations and must permit the
       schooling, training, or other acceptable reasons and              probation officer to confirm the defendant’s
       must notify the probation officer at least ten days               compliance with such requirement and to make
       before any change in employment or within 72                      such notifications;
       hours of an unanticipated change;                           15.   The defendant must follow the instructions of the
                                                                         probation officer to implement the orders of the
                                                                         court, afford adequate deterrence from criminal
                                                                         conduct, protect the public from further crimes of
                                                                         the defendant; and provide the defendant with
                                                                         needed educational or vocational training, medical
                                                                         care, or other correctional treatment in the most
                                                                         effective manner.




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      The defendant must also comply with the following special conditions (set forth below).

    STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

          The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless
 the fine or restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1).
 Payments may be subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining
 to restitution, however, are not applicable for offenses completed before April 24, 1996.

        If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant
 must pay the balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

         The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing
 address or residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change
 in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18
 U.S.C. § 3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion
 or that of a party or the victim, adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C.
 § 3572(d)(3) and for probation 18 U.S.C. § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                          States is paid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

     CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing
 credit report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate
 financial statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the
 defendant must not apply for any loan or open any line of credit without prior approval of the Probation Officer.

          The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other
 pecuniary proceeds must be deposited into this account, which must be used for payment of all personal expenses. Records of
 all other bank accounts, including any business accounts, must be disclosed to the Probation Officer upon request.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500
 without approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                            These conditions are in addition to any other conditions imposed by this judgment.




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                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                     to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal




                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY



Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date



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